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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

FERRARI FINANCIAL SERVICES,                   §
INC.,                                         §
           Plaintiff,                         §
                                              §
v.                                            §          No. 3:23-CV-1572-K
                                              §
DANNY S. YOO and DSY LLC,                     §
           Defendants.                        §


          ORDER ADOPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a recommendation

(“FCR”) in this case. The District Judge has made a de novo review of those portions of the

FCR to which objections were made and has reviewed all other portions of the FCR for plain

error. The objections are OVERRULED, and the court finds no plain error with respect to the

remainder of the FCR. The court ACCEPTS the Findings, Conclusions, and Recommendation

of the United States Magistrate Judge and GRANTS Plaintiff Ferrari Financial Services, Inc.’s

Motion for Leave to File Under Seal, (Dkt. No. 30), and GRANTS IN PART the Motion for

Attorney’s Fees, (Dkt. No. 33).

       Accordingly, the Court awards Plaintiff a total of $43,572.73 in fees and costs

(comprised of $40,218.90 in attorney’s fees and $3,353.80 in court costs and expenses).

       SO ORDERED.


       Signed March 12th, 2025.


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                                                  ED KINKEADE
                                                  UNITED STATES DISTRICT JUDGE
